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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
IN THE MATTER OF THE                 )
APPLICATION OF THE                  )
ASSOCIATED PRESS; CABLE             )
NEWS NETWORK, INC.; THE NEW         )
YORK TIMES CO.; POLITICO LLC;       )   Misc. Action No. 18-0041 (ABJ)
AND WP CO., LLC, d/b/a THE          )
WASHINGTON POST FOR ACCESS          )
TO CERTAIN SEALED                   )
COURT RECORDS                       )
____________________________________)

                                         FINAL ORDER

       A coalition of media organizations has filed a motion to obtain access to court documents

filed under seal and generated in connection with an ongoing criminal investigation being

conducted by the Office of Special Counsel. This order addresses the remaining documents at

issue in this matter. For the reasons set forth below, and in the orders of July 9, 2018 [Dkt. # 14]

(“July 9 Order”) and August 10, 2018 [Dkt. # 16] (“Aug. 10 Order”), it is ORDERED that the

coalition’s motion is GRANTED IN PART and DENIED IN PART.

       The coalition seeks access to the sealed information contained in documents relating to the

following search warrants obtained as part of the government’s investigation and prosecution of

United States v. Manafort, No. 17-cr-201:

                                 Search Warrant                                  Case No.
                    In the Matter of the Search of Information                 17-mj-0612
                     Associated With [Two Email Accounts]
                    In the Matter of the Search of Hard Drive                  17-mj-0496
                      with Serial Number WXB1AA006666
                           In the Matter of the Seizure of                     17-mj-0783
                          Funds from Accounts at [Bank]



                                                 1
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                           In the Matter of the Seizure of                        17-mj-0784
                          Funds from Accounts at [Bank]
                           In the Matter of the Seizure of                        17-mj-0785
                          Funds from Accounts at [Bank]
                     In the Matter of the Search of Information                   17-mj-0611
                          Associated with [Email Account]

            In the Matter of the Search of Information Associated with            18-sc-0609
                  Five Telephone Numbers Controlled by AT&T

            In the Matter of the Search of Information Associated with            17-sc-1042
             [Email Account] Stored at Premises Controlled by Apple

                   In the Matter of the Search of the [Residence]                 17-sw-0449
                            Alexandria, Virginia 20815
                 In the Matter of the Search of the [Storage Unit]                17-sw-0249

The Court has reviewed fully unredacted versions of them all.

       On July 9, 2018, the Court denied the coalition’s motion with respect to the two warrants 1

for the reasons stated in a May 29, 2018 ruling in the criminal case, Order [Dkt. # 312], United States

v. Manafort, No. 17-cr-201 (D.D.C. May 29, 2018), and given the ongoing nature of the criminal

proceedings at that time. See July 9 Order at 2. The Court then ordered the government and

Manafort to inform the Court whether any sealed information in the other warrant materials had

been made public during Mr. Manafort’s trial in the Eastern District of Virginia and could now be

unsealed. See Aug. 10 Order at 2–3. In response, on August 30, 2018, the government docketed

revised versions of five of the warrant applications with fewer redactions. See Notice [Dkt. # 17]




1      In the Matter of the Search of Information Associated with [Email Account], No. 17-mj-
0611, and In the Matter of the Search of Information Associated with Five Telephone Numbers
Controlled by AT&T, No. 18-sc-0609.

                                                  2
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and its attachments [Dkt. ## 17-1 through 17-5]. 2 The Court’s review of the unredacted documents

reveals that the information that remains under seal in these materials includes the private

information of non-parties, financial information, and non-public information concerning the

government’s ongoing criminal investigation. Therefore, the coalition’s motion will be denied

with respect to any remaining redactions in the five warrant applications docketed on August 30,

2018.

        With respect to the affidavits in support of the last three search warrants listed above, which

relate to the email account stored at premises controlled by Apple, Manafort’s Alexandria

residence, and a storage unit, the government filed a version of the warrant materials for the search

of the residence with fewer redactions on July 9, 2018, but it did not do so for the other two

warrants. See Notice of Submission [Dkt. # 340], United States v. Manafort, No. 17-cr-201

(D.D.C. July 9, 2018). Pursuant to the August 10 Order, the government notified the Court on

August 30, 2018 that neither the warrant for the residence nor the storage unit had been unsealed

by the court in the Eastern District of Virginia, and that even Manafort had only received redacted

versions of the materials. See Notice [Dkt. # 17] at 1. The Court finds that the information that

remains under seal in these three search warrants includes the private information of non-parties,

financial information, and non-public information concerning the government’s ongoing criminal

investigation. Therefore, the coalition’s motion with respect to any remaining redactions in these

materials is also hereby denied.




2       In the Matter of the Search of Information Associated With [Two Email Accounts],
No. 17-mj-0612; In the Matter of the Search of Hard Drive with Serial Number WXB1AA006666,
No. 17-mj-0496; In the Matter of the Seizure of Funds from Accounts at [Bank], No. 17-mj-0783;
In the Matter of the Seizure of Funds from Accounts at [Bank], No. 17-mj-0784; In the Matter of
the Seizure of Funds from Accounts at [Bank], No. 17-mj-0785.

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       As for exhibit 2 attached to defendant Richard W. Gates III’s motion for leave to file under

seal, [Dkt. # 166-2], filed in United States v. Manafort, No. 17-cr-201 (D.D.C. Feb. 6, 2018),

defendant Gates has stated that he does not object to the unsealing of the exhibit. Def. Gate’s

Resp. to the Court’s Oct. 2, 2018 Minute Order [Dkt. # 440], United States v. Manafort, No.

17-cr-201 (D.D.C. Oct. 4, 2018). Accordingly, the Clerk of Court is directed to unseal [Dkt.

# 166-2], exhibit 2 to the motion for leave to file under seal. A copy of this order will be filed in

United States v. Manafort, No. 17-cr-0201, to facilitate compliance with this order.

       The order completes the Court’s consideration of all of the requests in the media coalition’s

motion as it was narrowed pursuant to the order of May 25, 2018 [Dkt. # 10]. For the reasons

stated above and in the Court’s orders dated July 9, 2018 [Dkt. # 14] and August 10, 2018 [Dkt.

# 16], the coalition’s motion has been, or is now, is GRANTED IN PART and DENIED IN PART.

This is a final appealable order.




                                                      AMY BERMAN JACKSON
                                                      United States District Judge

DATE: October 9, 2018




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